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                             EXHIBIT G
                              PART  4
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Ct.), fiedJanuary 19,2007.

Plata Defendants' Report in Response to the Couits February 15,2007 Order, May 16,
2007, with supporting Declaration of Scott Kernan.


California State Sheriffs' Association, "Do the Crime, Do the Time? Maybe Not, in
California: Jail Cell Shortage is Upsetting the Balance," June 2006.

Transcript of     Proceedings, December 20,2006, Madrid v. Woodford, No. C 90-3094 THE

California Depaiiment of Corrections, Fall 2007 Adult Populations Projections: 2008-
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Weekly Population Report as of midnight, October 31, 2007

18th Report of    the Coleman v. Schwarzenegger Special Master on the Defendant's
Compliance with Provisionally Approved Plans, Policies and Protocols (without exhíbits)

Special Master's Response to Court's May 17,2007 Request for Information, Coleman v.
Schl,1-'arzenegger, May 31, 2007

California State Auditor, High Risk: The California State Auditor's Initial Assessment of
High-Risk Issues the State and Select, State Agencies Face, May 2007

Receiver's Report Re Overcrowding, May 15, 2007, and selected Exhibits:

           CDCR Inmate Population Table 6/30/1997 - 4/40/2007. (Exhibit 2)

           Independent Review Panel Report on Refomiing Corrections, Section 7:
           "Iriate/Parolee Population Management. (Exhibit 3)


           January 2007 Little Hoover Commission Report, "Solving California's Corrections
           Crisis: Time is Running Out". (Exhibit 4)

           CDCR Facilities Master Plan 1993-1998 - August 12, 1994. (Exhibit 5)

           COCR Facilities .Master Plan 1995-2000 - August 24, 1995. (Exhibit 6)

            CDCR Facilities Master Plan 1998-2003 - February 23, 1998. (Exhibit 7)

           CDCR Inmate Movement Table January 1,2007 - January 31,2007; (Exhibit i 0)
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      CDCR Inmate Moveinent Table February 1,2007 - February 28, 2007. (Exhibit
      i i)

      CDeR Inmate Movement Table March 1, 2007 - March 3 i, 2007. (Exhibit i 2)

      Bed Conversions Occun'ing from Fiscal Year 2/03 to 6/07. (Exhibit 13)

      March 30, 2007 Memorandum Re Emergency Revision of       the April 2007
      Institution Activation Schedules and Issuance of May 2007 Institution Activation
      Schedule. (Exhibit 14)

      March 30, 2007 Memorandum re Conversion of CSP-LAC Facility D to a
      Reception Center. (Exhibit 15)

      March 30, 2007 Memorandum" re Conversion of Centinela State Prison Level III to
      a Level IV. (Exhibit 16)


      CDCR Prototypical Prison Policy Design Criteria. (ExhibÍt 17)

      Assembly EiU 900 Table. (Exhibit 24)

Receiver's Supplemental Report Re Overcrowding, Plata v. Schwarzenegger. June 11,
2007

Receiver's Sixth Quarterly Report, Plata v. Schwa.rzenegger, September 25,2007
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                  APPENDIXC
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Vernon's Texas Statutes ,mel Codes Annotated CUITcntiiess
  Government Code i RËtü,'\;u\n.!~
    Title 4. Executive Branch !l~efs & AIlnosl
         Subtitle G. Correctinl1S
           "lI _r.hapterj()9. Population Management; Special Programs (Rds & Annos)
             "li Subc.lil\Dill" E. Unit and System Capacity
                   -t § 499.101. Existing Units




  fa) The maximum capacites for the units in the institutional division are as follows:


   Beio 1...................                                                                              3,000
   Bctu 11..................                                                                                888
   Boyd....................                                                                               1,012
   Briscoe....................                                                                            1,012
   Cenirill....................                                                                             720
   Clemens....................                                                                              851
   Clements....................                                                                           2,200
   Cotfieid.:..................                                                                           3,000
   f);\I iel....................                                                                          1,012
   DarringtQn....................                                                                         1,610
   Diagnostic....................                                                                         1,365
   E"slham....................                                                                            2,050
   Ellis 1...................                                                                              1:,900
   Elfb lr.,................                                                                              2,260
   Ferguson...... ... ...........                                                                         2,JOO
   Ciatcsville............ ........                                                                       1,571
   (ì'.lrec................... .                                                                          1,058
   Hightower....................                                                                          1,012
   Hillrop....................                                                                              761
   Hobby....................                                                                              1,012
   Hughes....................                                                                             2,264
   Huntsville....................                                                                         1,705
   Jester 1..................                                                                               323
   Jester n.....".............                                                                              378
   Jester IlL."........"...                                                                                 908
   Lewis.".................                                                                               1,012
   tvlcConnell....................                                                                        2,264
   Michal"ci..................                                                                            2,264
   Mount.ain View....................                                                                       7J8
   Pack 1..................                                                                                 864
   Pack II......"..........                                                                               1,088
   Panpa................"..                                                                               1,012
   Ramsey i..................                                                                             1,400
   Rumsey II....................                                                                            850
   Ramsey II".."...............                                                                           1,000
   Retrieve....................                                                                             770
   Roach....................                                                                              1,012

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  Rober(son...... ..............                                                                                  2,264
  Smith....................                                                                                       1,012
  Stile:;....................                                                                                     2,264
  TerrelL...................                                                                                      2.264
  Torres. . ...............                                                                                       1.012
  Wynne....................                                                                                       2,300

 ib) Ji is the: intent of the legislat.ure that as case law evolves and indicates that maximum capacities established
 under Subsection (a) may be increased, the staff of the institutional division shall use the procedures established
 by this subchapter to increase those c¡tpacities. There shall be no cause of action against the institutional division
 for failure to take acti'On under this     subsection.



Š 499.102. Staff Determinations and Recommendations

 (tl) The staff of the institutional division; on its own. initiative or as directed by the governor or the board, may
 recommend to the administration of the institutional division that. the max.imum capacity established under Section
 491J.lOl for a unit be increased if the staff determines through written findings that the division can increase the
 maximum capaeity and provide:

   (1) proper inmate classitìcation and housing within the unit that is consistent with the classification system;

   ü) housing tlexibility t.o allow necessary repairs and routine and preventive maintenance to be performed
   wit.hout. compromising the classification system;

   ()) adeqiiate space in diiyrooms;

   (4) all meals within a. reasonable time, allowing each inmate a reasonable time within which to eat.;

   (5) operable hygiene f¡ìcilities that ensUle the availability of a suftïcient number of fixtures to serve the inmate
   population;

   (6) adequate laundry services;

   (7) suffcient staff to:

         (A) meet operational a.nd security needs;

         (B) meet health care needs, including the needs of inmates requiring psychiatric care, mentally retarded
         inmates, and physically handicapped inmates;


         (e) provide. a safe environment for inmates and staff: and

         (D) provide adequate internal affairs investigation and review;

    (8) medical, dental, and psychiatric care adequate to ensure:


         (A) minimal delays in delivery of service from the time sick call requests are made until the service is
         performed;

         (B) access to regional medical facilities;

         (c) access t. the institutional .division hospital at Galveston or contTacl facilities performing the same
         services;


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        (D) access to specialty dinics; and

        (Eì a suffcient number of psychiatric inpatient beds and sheltered beds for mentally ret.arded inmates;

   (9) a fair disciplinary system that ensures due process and is adequate to ensure safety and order in the unit;

   ( i 0) work, vocational, academic, and on-the-job tra.ining programs that afford all eligible i.nmates with an
   opportunity to learn job skills or work habits that can be applied on release, appropriately staffed and of
   sli1'ficlem qual i ty;

   (j ') a sufficient number and quality of nonprogramiiatic and recreational activities for all eligible inmates who
   choose to participate;

   (12) adequate assistmice from persons trained iii the law or a law library with a collection containing necessary
   maierials and :;pace adequate for inmates to use the law library for study relat.ed to legal matters;

   ( 13) adequate space and staffing to permit contact and noncontact visitation of all eJigibl.e inmates;

   (14) adequate iiiiintenance programs to repair and prevent breakdowns caused by increased use offacilities and
   ri xtures; and

   (l5) space and staff sufficient to provide all the services and façilities required by this section.

 (bi The staff of the institutional division shall request of the Legislative Budget Board an estimate of the initial
 cost of implementing the increase in capacity and the increase in operating costs of the unit for the five years
 immediately following tne increase in capacit.y. The Legislative Budget Board shall provide t.he staff with the
 estimates. and the staff shall attach a copy of the estimates to the recommendations.

 (c) The s1:a1'(o1' t.he institutional division may not take more than 90 days from the date the process is initiated to
 make recommendations on an increase in the maximum capacity for a unit under this section.



* 499,1.03, Notice to Inmates

 Ca) The director of the institutional divisiòn shall    prominently display in areas accessible to inmates housed in a
 .L1nit .1'01' 'lvhicli the staff has recommended an increase in capacity copies of the recommendation and findings
 accompanying the recommendation.

 (b) The bo,ird shall establish n process by which inmates may comment on the recoiimendat.ions and ensUlc that a
 written summary of inmate comments is available to each individual or entity that makes a determination under
 this subchapter.



§ 499.104, Officers' Review and Recommendation

 The executive director of the department, the director of the institutional division, the deputy director for
 operations, the deputy director. for finance, the deputy director for health services, and r.he assistant director for
 classifiçation and treatment shall independently review staff recommendations for an increase in the maximum
 capacity of a unit and the writtenfindings accompanying the recommendation. Not later thaii the 30th day after
 the date of accepting the comments of the other officers, if the executive director agrees that the new maximum
 cupaciry forrhe unit is siipported by the findings, the executive director shaH forward the recommendation and
 findings to the board.



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* 499.1 OS. Board Review and Recommendation

 The bn,ird ~liall review the recommendation and lìndings forwarded to the board under Section 499.104. Not later
 than Ilw oOrh day afrer the date the board receives the rec.ommendation and findings, the board shall reject the
 recomrnendatinn or accept or modify the recommendation and forward the recommendation or modified
 n:conirnenciation and findings to the governor. The board may not: modify the recommendation by increasing the
 inaximi¡rn capacity specified in the recommendation.




* 499.106, Governor's Review and Recommendation

 The governor shall review the recommendation and findings forwarded to the governor under Section 499.105.
 The governor shall determine whethei' population pressures otnerwise making an increase in maximum capacity
 nece:;~ary ni.ty ¡ni;tead be" am"eliorated by other measures, including the use of community corrections programs.
 Not later than the 30th day after the date ¡he governor receives the recommendation and findings. the governor
 shall reject the recommend arion or accept the recommendation and forward the recommendation and findings to
 the ati.orney general.




* 499.107. Attorney Gimeral Review; Board Decision

 (¡il The attorney general shall review the recommendation and findings forwarded to the attorney general under
 Sect;"n '-t~L.U.)Q to cle-termil1~ whether the ini;titutional division may confine the number of inmates permitted
 under the recommended new maximum capacity and be in compliance with state and federal law, In conducting
 the revie.w under this section. the attorney general may request additionii) information from the institutional
 division and conduct on-siil' inspections of the institutional division. Not later than the 30th clay after the. date the
 a.ltorney ~eneral receives the recommendation and Endings, the attorney general shall approve or disapprove the
 recoiiine.ndatinns and findings, If the attorney general approves: the recommendations and findings. the attomey
 general shall notify the board of the approval. and oii receiving the approval the board may establish il new
 m¡ixiinum capacity for the unit. The attorney general may make the approval conditional and subject to further
 monitoring by the attorney general. The maximum capacity of a unit may not be increiii;ed if the ilttorney generaJ
 determines that the increase would violate state or federal law.

  (b) The institutional division may request that t.he board increase or decrease the new maximum capacity of a unit,
  but the board may not increiise the new maximum capacity without following all procedures required by Sections
 1.29. J 02-499.J.QQ and by Subsection (a). and except as provided by Subsection (c) may not decrease the new
  maximum capacity without following the procedures required by Sections 499.103-499.106.

  (c) The board may decrease a new maximum capacity without following the procedures listed in Subsection (b)
  only for the purposes of allowing single-ceiling flexibilit.y or to repair minor structural defic:iencies, provided that
  the. decrease does not continue in effect for longer than 60 days.



* 499.i()8. Capadty for New Units

  ta) Before construction begins on a unit of the institutional division for which construction was not approved
  before January i, 199 i. the board shall establish a maximum capacity for the unit.

  (b) Maximum capacity for a unit must be established under this section in the same manner as maximum capacity
  for a unit is increased under Sections 499.102, 499.104, 499.105. 499.106, and 499,107, except that time limits on
  nftïcial ac.tions imposed by those sections do not apply.


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 (c) This section does not apply to a 2.250-bed (Michael-type) unit or a l,OI2-bed (Daniel-type) unit, approved on
 r.r after January 1, j 99 J. unless the design for the unit is significantly altered or space in the unit is reduced,



~ 499,109. System Capacity

 (a) The inmate population of the institut.ional division may not exceed iOO percent of the combined capacities of
 each unit in the division, as determined by this subchapter,

 (b) The attorney general may authorize the institutional division to increase the inmate population of the division
. above 100 percent, but only if:

   ( J) the staff deterini nes through written findings that t.he population may be  increased without limiting the
   ubiliry of the division to transfer inmates between units as necessary for classification, medical, and security
   purposes; and


   (2) the administration of the department,' the board, and the governor approve of the increase, in the same
   manne.) as increases incapacity of indi vidual units are approved under Sections 499.104, 499. .15. and 499.106.

 (c) If the attorney general authorizes the institutional division to increase the ¡nronee population of the division
 above JOO percent. the institutional division shall distribute the additional admissions permitted by the increase
 among counties or groups of counties in the same manner as regular admissions are distr.ibuted under the
 allocation formula.



* 499,110. Administrative Procedure Act


 499.102-499.109. .
 Subchapter B, Chapter 2001, rJ'N 11 applies to all reviews, recommendations, and decisions made under Sections


 ll:!D \f.-r.C.A.. Governmenr Code § 2001.021 et seq.



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V.T.C.A.. Cìüvernment Code § 501.111                                                                                 Page 1




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Vernon's Texas Statutes and Codes Annotated Currentness
  Uoverl1ineot Code (Refs &. /\011(5)
    Title 4. Executive Branch (Refs &. Annos)
          Subtitle G. Corrections
           "-ê.l Chapter 50 J ,Inmate Welfare (Refs &. Annos)
              "i§ Subchapter .D. Inmate Housing
                  ~ § 5(11,11 1. Tem.poi'ary Housing




((I) Except as provided by.Subsection (b) and Subsection (c), the institutional division may not house .inmates in
lents, cellblock runs. hallways, laundry distribution rooms,- converted dayroom space. gymnasiums, or any other
facilities not specifically built for housing. .
(bi Temporary housing may be used to house roving inmate construction crews and inmates temporarily displaced
only becaLlse of housing renovation, fire. natural disaster, riot or hostage situations. if the institutional division
provides those inmates with reasonable sanitary hygiene faciJities.

te) The institiltional division may house ¡.nrnates in tents or tent-like structures unless prohibited by federal law or a
specific co   un order.


CREDlT(S)

Added by Acts 199!. 72ndLeg" eh, 655. § 3, err, June 16. 1991. Amended by Acts 1993, 73rd LeI!.. ch. 845. § 1.
eff. june 19, 1993.

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      Westlaw Topic No. 310.
     C.J.S. Prisons and Rights of        Prisoners § § 55,59, 63 to 66, 68 to 69, 11 to 72, 76 to 90, 124, 129.

V. T. C. A., Government Code § SOl. II, TX GOVI' § 501. 11

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V.T.C.A., Government Code § 501. 12                                                                           Page 1




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       Title 4.   ExcCltive Branch L&:.fs.& Annos)
           Subtitle G. Corrections
            '''¡g _ Chapte'.:.DJ. Inmate Welfllre (Refs & Annas)
                I'¡s Subch.!Dtcr D. .Inmate Housing
                    -+ § 5íl1,112, Mixirig Classifcations Prohibited




(a) Except as provided by Subsection (b), the institutional division may not house inmates with different custody'
classifications in the same cellblock or dormitory unless the structure of the cellblock or dormitory allows the
physical separation of thE: different classifications of inmates.

(bì If an appropriate justification is provided by the unit classification committee or the state classification
committee, t.he board may permit the institutional division to house inmates with different custody classifications in
the same cellblock or dormitory, but only uniil sufficient beds become available in the division to allow the division
1'0 house the inmates in the manner required by Subsection (a) and in 1)0 event for niol'e than 30 days.


CREDIT(S)

Added by Acts 1991. nnd Leg.. ch. 655. § 3. eft. June 16, 1991.

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        Pn~.S)JS €= .13(5),
        WcstlawTopic No. 310,
       ,Ç.J.S. Prisons and Rights of        Prisoners ~ ~ ?O'to 21, 25 to 27.

 V. T. C. A., Government Code § 50I.I2, TX GOVT § SOU 12

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V.T.C.A., Government Code § 50U 13                                                                              Page J




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                                            Effective:(See Text Amendments)


Vernon's Texas Statutes and Codes Annotated Currentness
    Government Code (Refs & Annos)
     Title 4. Executive Branch (.Refs & Annos)
         Subtitle G. Corrections
           "êJ Chapter 501. Inmate Welt¡ire (Refs & Annos)
             "\¥ Subchapter D. Inmate Housing
                 -+ § SOl.H3. Triple-Ceiling Pnihibited; Single-Ceilng Required for Certain Inmates



(a) The institutional division may not house more than two inmates in a cell designed for occupancy by one inmate
oj' tWO inmates.

(b) The institutional division shall house the following classes of inmat.es in s.ingle occupai'cy cells:


      (J) inmat.es confined in death row segregation;

      (2) inrnaiesconl'ïnecl in administrative segregation;

      (3) inmates assessed as mentally retarded and whose habilftation plans recommend housing in a single
      occupancy cell;

      (4) inmates with a diagnosed psychiatric illness being treated on an- inpatient or outpatient basis whose
      individual treatment plans recommend'housing in single occupancy cells; and

      (5) inmates whose medical treatment plans recommend housing in a single occupancy celL.


CREDIT(S)

Added by Acts 199 L 72nd Leg., ch. 655, § 3, eff, June 16. J 991.

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      Pi'isons ~ L.3(5j.
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V. T. C. A" Government Code § 501. 13, TX GOVT § 501.03

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